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                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

 PHILIP FLOYD,                                 §
       Plaintiff                               §
 vs.                                           §
                                               §
 ANDREA K. BOURESSA, In her official           §
 capacity as a State of Texas District Court   §       CIVIL ACTION NO. 4:24-CV-00681
 Judge for Collin County, Texas, RYAN          §
 HACKNEY, PATRICK YARBOROUGH,                  §
 ELIAS DRAGON, MMWKM ADVISORS,                 §
 LLC, SETH KRETZER AND JIM SKINNER, §
 In his official capacity as Sheriff of Collin §
 County, Texas, Defendants.                    §

                    ORDER ON MOTION FOR SUBSTITUTE SERVICE
                             FOR MMWKM ADVISORS

        CAME ON TO BE CONSIDERED PHILIP FLOYD's Motion to Substitute Service and

 after considering said motion, as well as the supporting document(s), the court finds Plaintiff's

 attempts to service MMWKM ADVISORS, LLC ("Defendant") have been unsuccessful and find

 the Substitute Service requested in Plaintiff's motion will be reasonably effective to give

 Defendant notice of the suit.

        Therefore, the Court GRANTS the motion and authorizes Substitute Service on

 MMWKM ADVISORS, LLC by any one of the following method(s):

 a.     By Delivering a true copy of the SUMMONS with Citation and Order authorizing

        substituted service attached, with anyone more than sixteen (16) years of age at 2820

        Dallas Parkway, Plano, Texas 75093, OR,

 b.     By Attaching a true copy of the SUMMONS with Citation and Order authorizing

        substitute service, securely to the front door or entry way at 2820 Dallas Parkway, Plano,

        Texas 75093, and if the property is locked, by attaching securely to the front door at 2820

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         Dallas Parkway, Plano, Texas 75093.

         Each of the authorized above described methods is reasonably effective to give Defendant

 notice of the suit and such service shall be deemed effective as of the date of compliance by

 Plaintiff.




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